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     Olaf W. Hedberg, Attorney at Law
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3    (916) 447-1192
     Attorney for Defendant
4
                              IN THE UNITED STATES DISTRICT COURT
5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

6

7
                                                   )
8    UNITED STATES OF AMERICA                           No. 10-CR-434 LKK
                                                   )
                                                   )
9                   Plaintiff,                          STIPULATION AND ORDER
                                                   )
            vs.
                                                   )
10                                                      Date: December 7, 2010
                                                   )
     CHRISTIAN CARLSON                                  Time: 9:15 am
                                                   )
11   et al                                              Judge: Hon. Lawrence K. Karlton
                                                   )
                                                   )
12                  Defendant.

13
            IT IS HEREBY STIPULATED by and between the parties hereto through their
14
     respective counsel, , Assistant Untied States Attorney, attorney for Plaintiff, OLAF HEDBERG,
15
     attorney for CHRISTIAN CARLSON., that the status conference now scheduled forDecember 7,
16
     2010 at 9:15 am be vacated and a new date of December 14, 2010 at 9:15 am be set for a change
17
     of plea. The parties have been negotiating the terms of a proposed plea agreement and anticipate
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     a resolution on that date.
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            It is further stipulated and agreed between the parties that the period beginning December
20
     7, 2010 and ending December 14, 2010, should be excluded in computing the time within which
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                Case 2:10-cr-00434-LKK Document 31 Filed 12/07/10 Page 2 of 2


1    the trial of the above criminal prosecution must commence for the purpose of the Speedy Trial

2    Act for defense preparation. All parties stipulate and agree that this is an appropriate exclusion

3    of time within the meaning of Title 18, United States Code, Section 3161(h)(8)(i) and Local

4    Code T4.

5

6                                                          Respectfully submitted,
                                                           Dated this 3rd of December, 2010
7                                                          By /s/ Olaf Hedberg
                                                           Olaf W. Hedberg, Attorney at Law
8                                                          Attorney for Christian Carlson

9

10

11
                                                           Dated this 3rd of December, 2010
12                                                         Benjamin B. Wagner
                                                           United States Attorney
13                                                         /s/ Olaf Hedberg for Michael Beckwith
                                                           Michael Beckwith
14                                                         Assistant U.S. Attorney

15                                                 ORDER

16
     IT IS SO ORDERED
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18   DATED: December 6, 2010

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22                                               Page 2 of 2
